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                                                          Attorneys for Defendants Lockton Companies LLC and
14                                                        Lockton Companies LLC – Pacific Series
15                                  UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
17
     CEDRIC DE LISSER, CHRISTOPHER MOSER, )                  Case No. 3:23-cv-00243-AMO
18   and MICHAEL MICHELIN, in their capacity as )
19   the Trustees of the Cred Liquidation Trust,     )       [Removal from Superior Court of California,
                                                     )          County of San Francisco, Case No.
20                  Plaintiffs,                      )          CGC-22603638]
             v.                                      )
21                                                   )       JOINT STIPULATION REGARDING
     LOCKTON COMPANIES LLC, d/b/a                    )       PLAINTIFFS’ REQUEST FOR LEAVE TO
22                                                           AMEND FIRST AMENDED COMPLAINT
     LOCKTON INSURANCE BROKERS LLC,                  )
23   a Missouri limited liability company; LOCKTON )
     COMPANIES, LLC- PACIFIC SERIES, d/b/a           )       State Action Filed: December 22, 2022
24   LOCKTON INSURANCE BROKERS LLC, a                )
25   Missouri limited liability company; and DOES 1- )
     10, inclusive.                                  )
26                    Defendants.                    )
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         JOINT STIPULATION REGARDING PLAINTIFFS’ REQUEST FOR LEAVE TO AMEND FIRST AMENDED
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 1          Plaintiffs Cedric De Lisser, Christopher Moser, and Michael Michelin, in their capacity as the
 2   Trustees of the Cred Liquidation Trust (collectively “Plaintiffs”) and Defendants Lockton Companies
 3   LLC, d/b/a Lockton Insurance Brokers LLC and Lockton Companies, LLC- Pacific Series, d/b/a Lockton
 4   Insurance Brokers LLC, (together “Defendants”), through their respective undersigned counsel, hereby
 5   stipulate as follows:
 6          WHEREAS, on December 22, 2022, Plaintiffs filed their original Verified Complaint against
 7   Defendants in California Superior Court for the County of San Francisco;
 8          WHEREAS, on January 9, 2023, Plaintiffs filed their First Amended Verified Complaint;
 9          WHEREAS, on January 18, 2023, Defendants removed the action to this Court;
10          WHEREAS, on February 17, 2023, Plaintiffs sought to have the action remanded to state court;
11          WHEREAS, on April 5, 2023, Judge James Donato adjourned the case management conference
12   in this matter pending further order;
13          WHEREAS, Plaintiffs advised Defendants on April 24, 2023 that they intend to seek leave to file
14   a Second Amended Complaint to add certain allegations as set forth in a draft Second Amended
15   Complaint Plaintiffs provided to Defendants, and asked whether Defendants would consent to the filing;
16          WHEREAS, Defendants informed Plaintiffs that, solely in the interest of efficiency and while
17   reserving all rights, Defendants would not oppose Plaintiffs’ request to amend their First Amended
18   Complaint to include the allegations set forth in the draft Second Amended Complaint;
19          WHEREAS, on May 10, 2023, the Executive Committee of this District reassigned the case to
20   Judge Araceli Martinez-Olguin and ordered that a Joint Case Management Statement be filed on or before
21   May 31, 2023;
22          WHEREAS, Plaintiffs believe it is more efficient for the parties to draft the Joint Case
23   Management Statement based on an operative complaint;
24          WHEREAS, by filing their Second Amended Complaint Plaintiffs do not concede that there is
25   federal subject matter jurisdiction and Plaintiffs reiterate that this case should be remanded to state court;
26          WHEREAS, Defendants intend to move to dismiss Plaintiffs’ operative complaint;
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         JOINT STIPULATION REGARDING PLAINTIFFS’ REQUEST FOR LEAVE TO AMEND FIRST AMENDED
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 1           WHEREAS, the Parties previously stipulated to, and the Court ordered, a briefing schedule for
 2   Defendants’ anticipated motion to dismiss that would take effect following the Court’s order resolving
 3   Plaintiffs’ motion to remand and/or abstain (ECF No. 18).
 4           IT IS HEREBY STIPULATED, by and between Plaintiffs and Defendants, by and through their
 5   respective counsel, that:
 6           1.       Defendants do not oppose Plaintiffs’ filing of their Second Amended Complaint, a clean
 7   copy and a redline copy of which are attached hereto as Exhibit A and Exhibit B.
 8           2.       Nothing herein shall be construed as an admission that Plaintiffs admit or concede that
 9   there is federal subject matter jurisdiction over the litigation.
10           3.       Nothing herein shall be construed as an admission that Defendants admit or concede that
11   Plaintiffs have stated or can state any claim against Defendants. Further, nothing herein shall be
12   construed as an admission that Defendants admit or concede the truth of the allegations set forth in the
13   proposed Second Amended Complaint.
14           4.       The stipulated briefing schedule for a motion to dismiss approved by the Court on January
15   30, 2023 (ECF No. 18) remains in effect.
16                                                   Respectfully submitted,
17
      DATED: May 19, 2023                             REID COLLINS & TSAI LLP
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19                                                    By: /s/ Angela J. Somers
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 5                                          Special Counsel to Trustees of the Cred Inc.
                                            Liquidation Trust
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 7
 8                                       QUINN, EMANUEL, URQUHART &
     DATED: May19, 2023                  SULLIVAN LLP
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25                                          LLC and Lockton Companies LLC – Pacific
26                                          Series, LLC

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                                  [PROPOSED] ORDER
 1
 2   PURSUANT TO STIPULATION AND GOOD CAUSE APPEARING, IT IS SO ORDERED.

 3                                                May
                                       25 Day of ________,
                       SO ORDERED this ___                 2023.
 4
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 6                                           UNITED STATES DISTRICT JUDGE
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